995 F.2d 1062
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Greta V. GORDON, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 93-1413.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 7, 1993.Decided:  June 21, 1993.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Asheville.  Woodrow Wilson Jones, Senior District Judge.  (CA-78-91-A-C)
      Greta V. Gordon, Appellant Pro Se.
      Thomas J. Ashcraft, Office of the United States Attorney, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      DISMISSED.
      Before HALL, WILKINSON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Greta V. Gordon noted this appeal outside the sixty-day appeal period established by Fed.  R. App.  P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(a)(5).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  Therefore, we dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    